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 8

 9
                                 UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
   IN RE: CATHODE RAY TUBE (CRT)               Master File No. CV-07-5944-JST
13 ANTITRUST LITIGATION
                                               MDL No. 1917
14

15                                             SUPPLEMENTAL DECLARATION OF
     This Document Relates to:                 RICHARD M. PEARL IN SUPPORT OF
16                                             INDIRECT PURCHASER PLAINTIFFS’
     All Indirect Purchaser Actions            REPLY RE: MOTION FOR AWARD OF
17                                             ATTORNEYS’ FEES, REIMBURSEMENT
                                               OF LITIGATION EXPENSES, AND
18                                             INCENTIVE AWARDS TO CLASS
                                               REPRESENTATIVES
19
                                               Hearing Date: March 15, 2016
20                                             Time: 2:00 p.m.
                                               Judge: Honorable Jon S. Tigar
21                                             Court: Courtroom 9, 19th Floor
                                               Before: Special Master Martin Quinn, JAMS
22

23

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     SUPP. DECL. OF RICHARD M. PEARL ISO IPP’S REPLY RE MOT. FOR ATTORNEY’S FEES,
     REIMBURSEMENT OF LITIG. EXPENSES, AND INCENTIVE AWARDS – MASTER FILE NO. CV-07-5944-JST
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 1                   SUPPLEMENTAL DECLARATION OF RICHARD M. PEARL
 2          I, Richard M. Pearl, do hereby declare:
 3          1.       This declaration supplements my previous declaration filed in this matter on
 4 September 23, 2015 (Doc. No. 4071-15). Its purpose is to address certain statements made in the

 5 Objection of Class Member Douglas W. St. John to IPP Motion for Award of Attorneys’ Fees and

 6 Conditional Objection to Settlement (Dkt No. 4106) in opposition to Indirect Purchaser Counsel’s

 7 (“IPP Counsel”) motion for an award of reasonable attorney’s fees. If called as a witness, I could

 8 and would competently testify based on my personal knowledge to the facts stated below.

 9          2.       Mr. St. John expresses various objections pertaining to my September 23

10 declaration (Pearl 9/23/15 Decl.), claiming that it is not sufficient evidence of the reasonableness

11 of the attorneys’ fees requested by IPP Counsel in this matter. Each of his objections pertaining to

12 my declaration lacks merit. (St. John’s other objections will be addressed separately by IPP

13 Counsel)

14 I.       My Expertise on the Fee Issues Presented Here Is Well-Recognized and Soundly
            Based
15
            3.       Most fundamentally, Mr. St. John questions my expertise to opine on factual issues
16
     pertaining to the reasonableness of attorneys’ fees. Obj. at 19, fn. 7. This assertion is baseless:
17

18                  My September 23 declaration fully set forth the bases for my expertise on these
                     matters. As noted: “More than 90% of my practice is devoted to issues involving
19
                     court-awarded attorneys’ fees. I have been counsel in over 190 attorneys’ fee
20
                     applications in state and federal courts, primarily representing other attorneys. I
21
                     also have briefed and argued more than 40 appeals, at least 25 of which have
22
                     involved attorneys’ fees issues.” Pearl 9/23/15 Decl., ¶ 4. For virtually every one
23
                     of these cases – and my practice has been much the same for the past 25 years or so
24
                     -- I must be aware of the hourly rates charged by the attorneys, the hours they have
25
                     spent, the risks they have taken, etc., as well as the facts asserted by the fee
26
                     opponent.
27

28
                                                        -1-
           SUPP. DECL. OF RICHARD M. PEARL ISO IPP’S REPLY RE MOT. FOR ATTORNEY’S FEES,
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 1                  Similarly, my expert opinion on the reasonableness of attorneys’ fees has been
 2                   recognized and adopted in more than 20 reported decisions, as well as countless
 3                   unreported trial court decisions. Pearl 9/23/15 Decl., ¶¶ 8 -9.
 4                  Indeed, as noted my opinions on hourly rates and risk multiplier were specifically
 5                   cited and followed by Special Master Quinn in the recent LCD fee award on the
 6                   same topics testified to here. See In re TFT-LCD (Flat Panel) Antitrust Litig., No.
 7                   M 07-1827 SI, MDL No. 1827 (N.D. Cal. 2013), Report and Recommendation of

 8                   Special Master re Motions for Attorneys’ Fees, filed Nov. 9, 2012, Dkt. No. 7127

 9                   (“LCD R&R”), at pp. 14, 17. Those findings were then adopted by the Court. In re

10                   TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-1827, MDL No. 1827, 2013
11                   U.S.Dist. LEXIS 49885 (N.D. Cal. 2013). Although my opinion was not
12                   specifically cited as to the court’s other findings in the LCD case (i.e., reasonable
13                   hours, appropriate percentage), the court’s findings were perfectly consistent with
14                   my opinion.
15                  Similarly, my opinion on hourly rates was expressly relied on by Judge William H.
16                   Alsup in a case cited by Objector, Gutierrez v. Wells Fargo National Bank, N.A.,
17                   No. 07-cv-05923-WHA, 2015 U.S.Dist.LEXIS 67298 at *14 (N.D. Cal. 2015).
18                  As my September 23 declaration also explained (¶ 7), I have consulted with and
19                   been retained by numerous government entities on their fee applications, including
20                   the states of California and Vermont.
21                  I also have testified in person about the reasonableness of fees in court or in
22                   arbitrations on more than a dozen occasions.
23 As far as I can recall, my qualification to testify as an expert on the reasonableness of attorneys’

24 fees has never been rejected.

25 II.      My Opinion That a 33.3% Fee Is Reasonable Is Well-Supported.
26          4.       Mr. St. John also asserts that my opinion that a 33.3% fee is reasonable here

27 conflicts with studies showing that in megafund cases, the percentages tend to decrease below the

28 25% benchmark, citing Judge Koh’s recent fee award in In re High-Tech Employees Antitrust
                                                       -2-
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 1 Litigation, 2015 U.S.Dist.LEXIS 118052 (N.D. Cal. 2015) (“High-Tech”). That objection also is

 2 fallacious:

 3                  As numerous studies, commentaries, and cases explain, including Judge Koh’s
 4                   decision in High-Tech, the ultimate goal of choosing a method for determining

 5                   common fund fees is to ensure that the fees are reasonable and that they do not

 6                   result in “windfalls” to the attorneys in light of the hours they have spent. See High

 7                   Tech, 2015 U.S.Dist.LEXIS 118052 at *23. To that end, courts rely on cross-

 8                   checking any percentage fee sought against the reasonable lodestar to determine if

 9                   the percentage fee is reasonable in that particular case. Ibid.

10                  Because the reasonableness of the percentage used will depend in part on the
11                   lodestar in the particular case, the studies, commentaries, and cases all confirm that

12                   there is no rule that automatically reduces the proper percentage-based fee in so-

13                   called megafund cases simply because other megafund cases use lower

14                   percentages. Indeed, the Ninth Circuit has expressly rejected Objector’s argument.

15                   See Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir. 2002) (rejecting

16                   rule cited by Objector, holding that determination of percentage must depend not

17                   just on fund size but on “all the circumstances”). See also, e.g., In re Cendant Corp.

18                   Litig., 264 F.3d at 284 n.55 (“Th[e] position [that the percentage of a recovery

19                   devoted to attorneys’ fees should decrease as the size of the overall settlement or

20                   recovery increases] . . . has been criticized by respected courts and commentators,

21                   who contend that such a fee scale often gives counsel an incentive to settle cases

22                   too early and too cheaply.” [bracketed text in original]); Newberg on Class Actions,

23                   §15:80 (5th ed.). Mr. St. John’s failure to even cite Vizcaino is to me a quite

24                   telling indication that his objection is invalid.

25                  Mr. St. John fails to recognize that the reason percentage fees tend to be lower in
26                   megafund cases is that the lodestars in those cases tend to be a smaller percentage

27                   of the recovery – i.e., generally, securing a $500 million recovery doesn’t take 50

28                   times more hours than securing a $10 million recovery. As a result, the multiplier
                                                        -3-
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 1                generated in the lodestar cross-check may be significantly higher in such cases,

 2                leading courts to reduce the percentage to bring the multiplier down to a reasonable

 3                number. See, e.g., Theodore Eisenberg & Geoffrey P. Miller, Attorney Fees and

 4                Expenses in Class Action Settlements: 1993-2008, 7 J. EMPIRICAL LEGAL

 5                STUD. 248 (2010) at 273-74 (finding “a strong negative correlation between the

 6                lodestar multiplier . . . and the percentage fee awarded”).

 7               Indeed, that is precisely what happened in High-Tech. The 19.5% fee sought by the
 8                plaintiffs would have resulted in a 4.8 multiplier; the court found that such a high

 9                multiplier was unjustified in that case and would have resulted in a windfall to the

10                attorneys. 2015 U.S.Dist.LEXIS 118052 at * 28. Accordingly, the percentage was

11                reduced to 10.5% because that would result in a multiplier of only 2.2 – 2.5, which

12                the court expressly found was well within the range of multipliers approved in

13                other megafund cases. Id. at *41-42, citing Vizcaino. Here, of course, IPP

14                Counsel’s 33.3% fee equates to a multiplier of only 2.3.

15               The same circumstances explain the holding in another case cited by St. John,
16                Gutierrez v. Wells Fargo Bank, 2015 U.S.Dist.LEXIS 67298. In Gutierrez,

17                plaintiffs’ counsel sought a 25% fee from a $203 million fund. That fee, however,

18                would have resulted in a lodestar multiplier of 10.38. Id. at *12-13. For that

19                reason, the court choose to use the lodestar method, awarding plaintiffs’ principal

20                counsel their full lodestar, including rates up to $975 per hour, plus a 5.5

21                multiplier. Id. at *22-23. As a cross-check, the court noted that the fee amounted to

22                only 9% of the fund. Id. at *25. However, that percentage was not chosen because

23                it was a “megafund” case. Rather, it was simply confirmation that the lodestar-

24                based fee, including a 5.5 multiplier, was reasonable. As such, it primarily

25                reflected the fact that it took a relatively low number of hours in comparison to the

26                size of the fund to win the case, as well as the limited scope of the class. Id. at *27-

27                28. Here, of course, the multiplier is only 2.3 and unlike Gutierrez, the scope of the

28                class is immense.
                                                    -4-
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 1                  In re Cardinal Health Inc. Sec. Litig., 528 F.Supp. 2d 752 (S.D. Ohio 2007), cited
 2                   by Objector, also is illustrative. There, plaintiffs requested 24.167% of a $600
 3                   million settlement fund, equating to a multiplier of 7.89. The Court rejected this as
 4                   excessive and awarded 18% ($108 million) equating to a multiplier of 5.9, even
 5                   though the case lasted for less than 3 years and the court found that counsel faced
 6                   less risk because they “piggybacked” on the SEC action. Id. at 766-68.
 7                  My opinion also is supported by the fee award in the LCD case. In that case, the
 8                   Court awarded the indirect purchasers and the State Attorney Generals 30% of the

 9                   $1.082 billion settlement fund, amounting to a multiplier of 2.4 (current rates) and

10                   2.6 (historical rates) of private counsel’s lodestar. All of the case complexities and
11                   risks that Special Master Quinn found supported the 30% fee award in LCD II are
12                   present here, and as IPPs have explained, were even greater here. See Alioto Fee
13                   Decl. I ¶¶ 5-8; 99. These additional complexities and risks justify the one-third fee
14                   request here.
15                  My opinion that a 33.3% fee is reasonable here, based on the factors set out in my
16                   declaration (Pearl 9/23/15 Decl., ¶¶ 10- 26), as well as lodestar cross-check
17                   showing that the 33.3% fee would result in no more than a 2.3 multiplier of IPP
18                   Counsel’s historical rates (id., ¶¶ 11-45), is firmly grounded in both the relevant
19                   standards and the facts. I stand by that opinion.
20 III.     My Observation That The Number of Hours Appears Reasonable Is Well-Supported.
21          5.       Mr. St. John also questions my opinion (Pearl 9/23/15 Decl., ¶ 38) that for purposes
22 of the lodestar cross-check, the number of hours expended by IPP Counsel “appears to be in the

23 ballpark for a case of this broad scope, extreme complexity, and long duration, and therefore

24 reasonable.” Obj. at 19. He claims that: a) my opinion is not probative because I have never

25 personally managed a large complex class action; and b) other cases involved fewer hours. Id.

26 Neither objection has merit.

27          6.       First, although I have managed large class actions (see, e.g., California
28 Employment Dev. Dept. v. Superior Court, 30 Cal.3d 256 (1981)), my expertise and relevant
                                                       -5-
           SUPP. DECL. OF RICHARD M. PEARL ISO IPP’S REPLY RE MOT. FOR ATTORNEY’S FEES,
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 1 experience is far broader than that. As an attorneys’ fee specialist for the past 30 years or so, I

 2 have reviewed and testified in numerous cases of comparable complexity, including the fee

 3 requests in the LCD case and similar class actions against Microsoft, RJ Reynolds, Pacific Bell,

 4 and other large companies and/or government entities. From that work, I have a solid basis for

 5 opining that the number of hours claimed here is reasonable.1

 6          7.      Second, the cases St. John cites are hardly comparable. In re High-Tech, 2015

 7 U.S.Dist.LEXIS 118052, for example, was not an indirect purchaser case, was actively litigated

 8 for less than four years against only seven domestic defendants, and involved current facts and no

 9 foreign language issues. The instant case involved 48 defendants from around the world sued

10 under the laws of 22 states, with many documents and witnesses in other languages and many

11 others no longer available because of the litigation’s timing. Likewise, In re Currency Conversion

12 Antitrust Litig., 263 F.R.D. 110 (S.D.N.Y. 2009) involved only domestic defendants and no

13 foreign language issues. It also settled before summary judgment and was not an indirect

14 purchaser case involving numerous class representatives and differing state laws.

15          8.      The far more apt comparator is the LCD litigation which involved similar numbers

16 and types of defendants, similar translation issues, and numerous other similar complexities. In the

17 LCD case, the court found as part of its lodestar cross-check that plaintiffs’ counsel had reasonably

18 expended at least 313,000 hours. See LCD R&R, p. 10. The instant case involves 41% fewer hours

19 – 183,000 here vs. 313,000 in LCD – and the case was litigated for two years longer than LCD. It

20 also results in a lower lodestar multiplier -- 2.3 here as opposed to 2.6 in LCD. Again, I stand by

21 my opinion.

22 IV.      IPP Counsel’s Hourly Rates Are Not “Premium” Rates.
23          9.      Mr. St. John claims that my testimony supporting counsels’ hourly rates is based on

24 a comparison of counsels’ rates to the rates charged by “the nation’s premier white shoe law

25

26   1
    It also bears noting that my opinion pertains to the number of hours in the context of a cross-
   check to the requested percentage-based fee. In those circumstances, the review of hours is not as
27 demanding or rigorous as it might be in a case based solely on the lodestar-method. See, e.g., In re

28 Rite Aid Corp. Sec. Litig. (3rd Cir. 2005) 396 F.3d 294, 306-307.
                                                      -6-
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 1 firms” and that those rates are only paid for cases that achieve “extraordinary results in

 2 exceptionally complex cases.” Objs. at 20. Again, that objection lacks merit.

 3          10.    Initially, the fact is that counsel here did achieve an extraordinary result in an

 4 exceptionally complex case, in a case where many of the defendants were represented by the very

 5 white shoe law firms St. John presumably is referring to (e.g. Gibson, Dunn & Crutcher, LLP;

 6 White & Case, LLP; Sheppard Mullin Richter & Hampton, LLP; Baker Botts, LLP; and Winston

 7 & Strawn, LLP). There is no reason IPP Counsel should recover any lower rates than these firms

 8 charge. See, e.g., Davis v. City & County of San Francisco, 976 F.2d 1536, 1545 (9th Cir. 1992)

 9 (“rates should be established by reference to the fees that private attorneys of an ability and

10 reputation comparable to that of prevailing counsel charge their paying clients for legal work of

11 similar complexity”), affirming in relevant part, United States v. City & County of San Francisco,

12 748 F.Supp. 1416, 1431 (N.D. Cal. 1990) (class action attorneys “entitled to value their rates at the

13 same level as corporate attorneys of equal caliber.”)

14          11.    Second, IPP Counsel’s rates are generally significantly lower than the large firm

15 rates. For example, IPP Counsel’s lead attorney, Mario Alioto, is currently billing $875 per hour.

16 Moreover, Mr. Alioto’s time is billed here at historical rates ranging from $750 to $875. At large

17 firms like Cooley or Gibson Dunn, his hourly rate would be at least $975 per hour and as high as

18 $1,125. See Pearl 9/23/15 Decl., ¶ 34. Other law firms included in IPP Counsel’s joint fee motion

19 also are charging considerably lower rates than “big firm” rates, with only a few individual

20 attorneys billing above $800 per hour In fact, the average hourly rate is only $457.67.

21          12.    Third, my September 23 declaration (¶ 34) compares IPP Counsel’s billing rates

22 charged by many smaller sized law firms, including Altshuler Berzon LLP, The Arns Law Firm

23 LLP, Burson & Fisher, and several others.

24          13.    IPP Counsel’s rate also compare favorably to the rates the court, citing my

25 declaration, recently found reasonable in Gutierrez v. Wells Fargo Bank, N.A.., See 2015

26 U.S.Dist.LEXIS 67298 at *14-15 (approving billing rates for partners ranging from $475 to $975;

27 $300 to $490 for associates; and $150 to $430 for support staff, and applying 5.5 multiplier to

28 those rates). Those rates were then cited and followed in In re High-Tech. Employees, 2015 U.S.
                                                      -7-
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 1 Dist. LEXIS 118052 at *33-34 (approving billing rates for partners ranging from $490 to $975;

 2 $310 to $800 for associates, with most below $500; and $190 to $430 for support staff, with most

 3 in the $300 range, and applying a 2.2 multiplier to those rates).

 4 V.        Counsel’s Billing for Contract Attorneys Is Consistent with the Legal Marketplace
             and California Law
 5
             14.     Mr. St. John also objects to counsel billing the work of contract attorneys at
 6
     associate rates. Obj. at 21-22. That objection too is unfounded.
 7
             15.     In my experience, virtually every law firm I know of bills the work of contract
 8
     attorneys at market rates – i.e., the rates charged for attorneys of comparable experience, and
 9
     expertise for comparable work. That is the applicable standard here. See Blum v Stenson , 465 US
10
     886, 895 n. 11 (1984).
11
             16.     Moreover, that practice is perfectly legal and ethical. See Shaffer v. Superior
12
     Court, 33 Cal. App. 4th 993 (1995). Indeed, Rule 4-200(B) of the California Rules of Professional
13
     sets out eleven relevant factors for determining whether a lawyer’s fee is conscionable: none of
14
     them refer, directly or indirectly, to the firm’s costs or more specifically, to the cost of hiring
15
     associates, contract attorneys, or other billers.
16
             17.     IPP Counsel’s practice also is consistent with both federal and California law,
17
     which proscribe rate determinations based on the cost of providing services. See Blum v Stenson,
18
     supra; Serrano v. Unruh, 32 Cal.3d 621, 643 (1982) (rejecting cost-based method for calculating
19
     rates of public interest attorneys); PLCM v. Drexler Group, Inc. (same re in-house counsel);
20
     Copeland v. Marshall, 641 F.2d 880, 894 (D.C. Cir. 1980); Dennis v. Chang, 611 F.2d 1302 (9th
21
     Cir. 1980). See generally Pearl, California Attorney Fee Awards, 3d. Ed. (Cal. Cont. Ed. Bar
22
     2010, 2015 Supp.), §9.103, p. 9-91. The cases St. John cites for a rule limiting contract attorney
23
     rates are New York cases, and thus inapplicable here. Other federal authorities are contrary. See,
24
     e.g., In re Tyco Int'l, Ltd., supra; In re Enron Corp. Sec., Derivative & ERISA Litig., 586 F. Supp.
25
     2d 732, 783 (S.D. Tex. 2008) Carlson v. Xerox Corp., 596 F. Supp. 2d 400, 409-410 (D. Conn.
26
     2009). The two local examples Objector cites, Banas v. Volcano Corp., 47 F.Supp.3d 957 (N.D.
27
     Cal. 2014) and Apple, Inc. v. Samsumg Elec. Co., 2012 U.S.Dist. LEXIS 16068, only indicate that
28
                                                         -8-
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 1 there is a range of rates charged; that some attorneys choose to bill contract attorneys at “cost” or

 2 at a discounted rate does not mean that the rates requested here are not “in line with” the range of

 3 rates charged by local attorneys for similar services. In my experience and opinion, the rates

 4 requested here are well within that range.

 5 VI.      My Opinion That IPP Counsel’s Hours Are Adequately Documented Is Well-
            Supported.
 6
            18.     In my opinion, the time summaries filed here, which are based on contemporaneous
 7
     time records and records reconstructed from the files, are perfectly adequate. They readily identify
 8
     “the general subject matter of [counsel’s] time expenditures.” See, e.g., Fischer v. SJB-P.D. Inc.
 9
     (9th Cir. 2001) 214 F.3d 1111, 1121, citing Hensley v. Eckerhart (1983) 461 U.S. 424, 437. And,
10
     as noted, they are consistent with the documentation previously approved by the federal courts.
11
     See, e.g., Goldberger v. Integrated Resources, Inc., 209 F.3d 43, 50 (2d Cir. 2000); In re Rite Aid
12
     Corp. Sec. Litig., supra, 396 F.3d at 306-07 (3d Cir. 2005). See also Lobatz v. U.S. W. Cellular of
13
     California, Inc., 222 F.3d 1142, 1148 (9th Cir. 2000) (affirming denial of “request for discovery of
14
     class counsel’s contemporaneous time records”).
15
            19.     This approach is consistent with my own experience. In my experience, such time
16
     summaries by category, rather than individual time entries, are more useful for evaluating the
17
     reasonableness of time spent on a case rather than having to examine many individual, day-by-day
18
     time entries describing work performed.
19
     VII.   Counsel’s Risk Multiplier Is Consistent with the Legal Marketplace.
20
            20.     Lastly, Objector also asserts that a multiplier should be denied because IPP Counsel
21
     supposedly are claiming high hourly rates. Objs. at 20-21. As demonstrated in Section IV infra,
22
     that assertion is false. It also fails to account, inter alia, for the contingent risk IPP Counsel took
23
     in handling this case entirely on a contingent fee basis. The factual basis for my opinion is set out
24
     in my September 23 declaration (at ¶¶ 19-20), and more importantly, in the declarations and
25
     arguments of IPP Counsel.
26
            21.     As a legal matter, Objector simply ignores the fundamental economic premise that
27
     underlies risk multipliers. That analysis was thoroughly explored by the California Supreme
28
                                                        -9-
           SUPP. DECL. OF RICHARD M. PEARL ISO IPP’S REPLY RE MOT. FOR ATTORNEY’S FEES,
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 1 Court in Ketchum v. Moses, 24 Cal.4th 1122 (2001), and Graham v. DaimlerChrysler Corp., 34

 2 Cal.4th 553, 579 (2004), and is equally applicable here. There, the California Supreme Court

 3 recognized that the purpose of a lodestar multiplier is to “fix a fee at the fair market value for the

 4 particular action.” Graham, 34 Cal.4th at 579. The “unadorned lodestar reflects the general local

 5 hourly rate for a fee-bearing case; it does not include any compensation for contingent risk,

 6 extraordinary skill, or any other factors a trial court may consider.” Ketchum, 24 Cal.4th at 1138

 7 (emphasis in original).

 8          22.     Ketchum and Graham both recognize that lodestar multipliers are essential to the

 9 purposes of fee-shifting statutes: “‘A lawyer who both bears the risk of not being paid and

10 provides legal services is not receiving the fair market value of his work if he is paid only for the

11 second of these functions. If he is paid no more, competent counsel will be reluctant to accept fee

12 award cases.’” Ketchum, 24 Cal.4th at 1133. Because they reflect market value, lodestar

13 enhancements are not a “bonus” or “windfall”; they are “earned compensation.” Id.

14          23.     The hourly rates IPP Counsel have requested here are based on the non-contingent

15 rates charged by comparably qualified attorneys for comparably complex work. They represent the

16 rates that would be paid if IPP Counsel’s attorneys had had, as Defendants’ attorneys had, clients

17 willing and able to pay their market rates. The fact that any fee recovery was contingent on

18 significant success has no bearing on those rates, except to illustrate the necessity to provide

19 additional compensation to attorneys willing to take the risk that IPP Counsel took here.

20          24.     Contingent risk is the most common and important lodestar enhancement factor.

21 See Graham, 34 Cal.4th at 579. It alone would justify a multiplier of at least 2.0. See Cazares v.

22 Saenz, 208 Cal.App.3d 279, 288 (1989) (“in theory, a contingent fee in a case with a 50 percent

23 chance of success should be twice the amount of a noncontingent fee for the same case”). In fact,

24 many other cases apply significantly higher multipliers, based largely on contingent risk. See, e.g.,

25 Vizcaino, 290 F.3d at 1051 (affirming $27 million fee award that equaled multiplier of 3.65 and

26 listing 24 other cases, most with multipliers of 1.5 – 3.0); Gutierrez v. Wells Fargo Bank N.A.,

27 supra, 2015 U.S.Dist.LEXIS 67298, at *23 (applying 5.5 multiplier to lead counsel’s lodestar and

28 2.2 multiplier to replaced counsel’s, despite dissatisfaction with its performance); Craft v County
                                                     - 10 -
           SUPP. DECL. OF RICHARD M. PEARL ISO IPP’S REPLY RE MOT. FOR ATTORNEY’S FEES,
     REIMBURSEMENT OF LITIG. EXPENSES, AND INCENTIVE AWARDS – MASTER FILE NO. CV-07-5944-JST
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 1 of San Bernardino, 624 F.Supp.2d 1113, 1125 (C.D. Cal. 2008) (finding 25 percent of fund

 2 recovered -- constituting 5.2 multiplier -- reasonable).

 3          I declare under penalty of perjury under the laws of the United States that the foregoing is

 4 true and correct. Executed this 6th day of November, 2015, in Berkeley, California.

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                                                               ___/s/ Richard M. Pearl____
 7                                                                   Richard M. Pearl

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